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   8                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
   9                              IN ADMIRALTY
  10
       GREAT LAKES INSURANCE SE,                Case No.: 5:20-CV-00586-AB(SHKx)
  11
                       Plaintiff,               [PROPOSED] JUDGMENT
  12
              v.
  13
       TAMARA LEE SMITH,
  14
                       Defendant.
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  16
             Pursuant to the Court’s Order Granting Plaintiff’s Motion for Summary
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       Judgment (Dkt. No. 44), IT IS HEREBY ORDERED, ADJUDGED AND
  18
       DECREED that final judgment is hereby entered for Plaintiff.
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  21   DATED: October 20, 2021
  22                                        HONORABLE ANDRÉ BIROTTE JR.
                                            UNITED STATES DISTRICT JUDGE
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